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10                     IN THE UNITED STATES DISTRICT COURT
11                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                              WESTERN DIVISION
13
14   NOMADIX, INC.,                             Case No.
                                                CV16-08033 AB (FFMx)
15                 Plaintiff,
16                                              DECLARATION OF KELLY
            v.                                  HUGHES IN SUPPORT OF
17                                              NOMADIX’S OPPOSITION
     GUEST-TEK INTERACTIVE
18                                              TO GUEST-TEK’S MOTION
     ENTERTAINMENT LTD.,
                                                TO DISSOLVE PROTECTIVE
19                                              ORDER
                   Defendant.
20
                                                Honorable Frederick F. Mumm
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1          I, Kelly Hughes, hereby declare as follows:
2          1.     I am General Counsel for Plaintiff Nomadix, Inc. Unless otherwise
3    stated, I have personal knowledge of the facts set forth herein, and, if called upon to
4    do so, I could and would testify competently to them.
5          2.     Nomadix is based in Agoura Hills, California.
6          3.     Guest-Tek is based in Canada but does business in the United States,
7    including in California.
8          4.     I have been employed as General Counsel for Nomadix since 2009. My
9    responsibilities during that time have included developing legal strategies for
10   Nomadix, including negotiating licenses of Nomadix’s patents and other intellectual
11   property and overseeing the enforcement of Nomadix’s patents through litigation. I
12   have overseen all litigation and licensing between Nomadix and Guest-Tek.
13         5.     Charles Reed was a director of Nomadix from March 2008 through
14   September 2015. For the majority of the time that Mr. Reed was at Nomadix, I was
15   Nomadix’s General Counsel. As Nomadix’s General Counsel, I advised Mr. Reed
16   regarding several attorney-client issues pertaining to Guest-Tek, such as when
17   Nomadix sued Guest-Tek for patent infringement in 2009; and when the parties
18   entered into a license agreement in 2010; and when the parties mediated breach of
19   that license agreement in 2014; and again when Nomadix and related parties were
20   involved in due diligence in connection with a sale of Nomadix in 2015, during
21   which I advised Nomadix of the value of its claims against Guest-Tek.
22         6.     As Nomadix’s General Counsel, a significant portion of my
23   responsibilities consists of advising Nomadix’s directors regarding Nomadix’s legal
24   matters. That was also true when Mr. Reed was one of Nomadix’s directors and I
25   was also Nomadix’s General Counsel then. Over the span of at least six years, I
26   advised Mr. Reed and other Nomadix directors regarding legal matters on a near-
27   daily basis. During that time, I estimate that I had hundreds, if not thousands, of
28   privileged discussions with Mr. Reed regarding Guest-Tek and the agreements and
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1    claims at issue in the above-captioned action. The vast majority of those discussions
2    did not involve outside counsel. I was the only attorney involved in the vast majority
3    of those discussions, and I am therefore the only Nomadix attorney with personal
4    knowledge of the existence and content of the discussions and surrounding
5    circumstances, such as who was present at the many attorney-client discussions
6    involving Mr. Reed.
7          7.     Nomadix was sold to a new shareholder on September 29, 2015.
8    DOCOMO interTouch Pte. Ltd. (formerly named inter-touch Pte. Ltd. and
9    hereinafter “interTouch”) had been Nomadix’s parent company for most of
10   Mr. Reed’s tenure as a Nomadix director until Nomadix was sold on September 29,
11   2015. After the sale, Mr. Reed remained involved in Nomadix during a brief
12   transition period. Both leading up to the sale and during the transition period, I had
13   several attorney-client discussions with Mr. Reed regarding Nomadix’s litigation
14   strategy as it relates to this case and the sale. Mr. Reed left Nomadix shortly after
15   the time of the sale in 2015.
16         8.     I travelled to Bangkok, Thailand in order to attend the meeting between
17   Guest-Tek’s counsel and Charles Reed that they had scheduled for May 3, 2018.
18   That required me to spend more than 20 hours traveling from the United States and
19   more than 20 hours traveling back to the United States, imposing a significant
20   inconvenience on my work obligations. My goal in traveling to Bangkok was to
21   seek to avoid disclosure by Mr. Reed, to Guest-Tek’s counsel, of Nomadix’s
22   attorney-client privileged information.         I am uniquely qualified to identify
23   conversation topics that Mr. Reed might engage in that are particularly likely to lead
24   to the disclosure of attorney-client privileged information. To the best of my
25   knowledge, my discussions with Mr. Reed during our several years working together
26   at Nomadix are the primary source of Mr. Reed’s knowledge on several attorney-
27   client privileged topics, including those related to litigation strategy.
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1          9.     I understand that Mr. Reed has claimed that our last conversation when
2    he left Nomadix’s then-parent company was “that our friendship was no longer” and
3    that he will never speak to me again. We did not have such a conversation. Prior to
4    the scheduling of Mr. Reed’s meeting with Guest-Tek’s counsel in Bangkok, I
5    believed that he and I remained on cordial terms. In fact, before that meeting
6    scheduling but after Mr. Reed departed Nomadix and after this litigation began, I
7    and my family happened to encounter Mr. Reed while on vacation and had a friendly
8    interaction with him then.
9          10.    Based upon Mr. Reed’s statements at the May 3, 2018 meeting with
10   Guest-Tek’s counsel in the lobby of the Intercontinental Hotel in Bangkok, I believe
11   that there is a significant risk that Mr. Reed might divulge Nomadix’s attorney-client
12   privileged information to Guest-Tek’s counsel should there be a future meeting
13   between them. I therefore believe that, in order to protect Nomadix’s attorney-client
14   privileged information, it would be very important for me to attend any such future
15   meeting between Mr. Reed and Guest-Tek’s counsel.
16         11.    In the course of performing my duties for Nomadix, I have worked
17   closely with Nomadix’s Board of Directors. Mr. Reed was a director of Nomadix
18   from March 2008 through September 2015. In November 2009, I was appointed to
19   Nomadix’s Board of Directors, and I served as a director through the remainder of
20   Mr. Reed’s tenure on the Board. Throughout Mr. Reed’s tenure as a director, the
21   Board had no more than four members at any point in time; in several years, the
22   Board had only three members. Of the three to four members of the Board, Mr. Reed
23   was an important director because he was also the Chief Executive Officer of
24   DOCOMO interTouch Pte. Ltd., the sole shareholder of Nomadix during Mr. Reed’s
25   tenure on the Board.
26         12.    I am familiar with the responsibilities Mr. Reed had at Nomadix. While
27   serving on Nomadix’s Board of Directors, Mr. Reed was the primary liaison between
28   Nomadix’s management and the Board and its shareholder. Mr. Reed advised
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1    Nomadix’s management, on behalf of the Board, regarding strategic decisions for
2    the company, and reported back to the Board and its shareholder regarding
3    Nomadix’s operations. Mr. Reed also presided over Nomadix’s Board meetings. Mr.
4    Reed also worked with me and Nomadix’s outside counsel on litigation and licensing
5    between Nomadix and Guest-Tek. Because Mr. Reed was a member of Nomadix’s
6    Board and was CEO of Nomadix’s sole shareholder, I kept him regularly informed
7    about Nomadix’s legal strategies. Indeed, in the course of performing his duties as a
8    Nomadix director, Mr. Reed was privy to Nomadix’s privileged and most
9    confidential information and strategies. Mr. Reed is not a lawyer.
10         13.    In 2009, Nomadix sued Guest-Tek for patent infringement. In
11   December 2010, the parties settled. As part of the settlement, Nomadix and Guest-
12   Tek entered into a Confidential License Agreement. I oversaw this lawsuit and
13   negotiation of the License Agreement. During the settlement negotiations between
14   Nomadix and Guest-Tek that led to the License Agreement, Nomadix’s outside
15   counsel and I conducted numerous privileged briefings with Mr. Reed regarding
16   Nomadix’s internal strategy. Topics of these discussions included various drafts of
17   the agreement, negotiation strategy, enforcement strategy, and the relative strength
18   and value of the licensed Nomadix patents. Mr. Reed signed the License Agreement
19   on behalf of Nomadix, and Guest-Tek’s CEO, Arnon Levy, signed the License
20   Agreement on behalf of Guest-Tek.
21         14.    Under the License Agreement, Guest-Tek must pay royalties on a
22   quarterly basis for incorporating Nomadix’s patented technology into its products.
23   Nomadix contends that Guest-Tek has breached the License Agreement and owes
24   Nomadix millions of dollars in royalties under the agreement.
25         15.    In January 2013, Nomadix requested that the parties mediate Guest-
26   Tek’s breach of the License Agreement. On April 16, 2014, Nomadix and Guest-
27   Tek appeared before Antonio Piazza of Mediated Negotiations in San Francisco. Mr.
28   Reed and I attended the mediation on behalf of Nomadix, along with Nomadix’s
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1    outside counsel, William Shreve and Mark Lezama of Knobbe Martens Olson &
2    Bear. Mr. Levy and Andrew MacMillan, an employee of Guest-Tek, together with
3    Guest-Tek’s outside counsel, Steven Rocci and Michael Swope, attended the
4    mediation on behalf of Guest-Tek. The mediation lasted a full day. For most of the
5    proceedings, the parties were in separate rooms, with Mr. Piazza going back and
6    forth between the parties. When Mr. Piazza brought a proposal or other issue to
7    Nomadix’s attention, Nomadix’s standard procedure was to discuss the issue in its
8    private room outside of Mr. Piazza’s presence prior to discussing the issue with Mr.
9    Piazza. Mr. Shreve, Mr. Lezama, and I did not provide advice on the fly in front of
10   Mr. Piazza. Nor did Mr. Reed or I solicit advice from Nomadix’s outside counsel in
11   front of Mr. Piazza. Nor did Nomadix take positions, make proposals, or give
12   instructions to Mr. Piazza without first discussing those issues privately. When Mr.
13   Piazza was not present, Mr. Reed, Mr. Lezama, Mr. Shreve, and I conducted
14   confidential discussions in Nomadix’s separate room regarding resolution of the
15   License Agreement dispute, including interpretations of the relevant provisions of
16   the License Agreement, the relative strengths and weaknesses of the parties’ actual
17   and potential positions, the likelihood of potential outcomes and recoveries, and
18   Nomadix’s threshold for settlement. Although the parties conducted some
19   discussions face to face in the morning, the parties did not conduct any face-to-face
20   discussions after lunch.
21         16.    In the afternoon, Mr. Piazza brought Nomadix a handwritten proposed
22   MOU that Guest-Tek had prepared. Under Guest-Tek’s proposed MOU, the parties
23   would engage in a twelve-month standstill of their dispute. Under the proposed
24   MOU, the parties would also retain a mutually agreeable expert to evaluate Guest-
25   Tek’s alleged design-arounds; although the parties would agree not to dispute the
26   expert’s conclusions for purposes of settlement discussions, the expert’s conclusions
27   would not be discoverable, admissible, or binding. Under its proposal, Guest-Tek
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